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AO 199A {Rev. 06/19) Order Setting Conditions of Release                                                 Paae 1 of             Pages




                                        United States District Court                                                 « filed
                                                                                                                     OPEN COURT
                                                                      for the

                                                           Eastern District of Virginia                         JuL I 3

                                                                                                         CLERK U.S. DISTRICT COURT
                    United States of America                                                                ALEXANDRIA,
                                   V.


                                                                                  CaseNo. 1:23-cr-00119-TSE-1
                CONOR BRIAN FITZPATRICK
                               Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE


IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               UNITED STATES DISTRICT COURT
                                                                                          Place

       401 COURTHOUSE SQUARE. ALEXANDRIA. VIRGINIA 22314

      on
                                                                    11/17/2023 9:00 am
                                                                        Date and Time



      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/20) Additional Conditions of Release                                                                                    Page_^ of ^ Pages

                                                   ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance ofthe person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(□ ) (6) The defendant is placed in the custody of:
         Person or organization
              Address (only ifabove is an organization)
              City and state                                                                                        Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                           Signed:
                                                                                                       Custodian                                     Date
([/]) (7) The defendant must:
      (□ ) (a) submit to supervision by and report for supervision to the pretrial services as directed
                    telephone number                              , no later than
      (□)     (b)   continue or actively seek employment.
      (□)     (c)   continue or start an education program.
      (□)     (d)   surrender any passport to:       pretrial services
      (□)     (e)   not obtain a passport or other international travel document.
      (f/l)   (f)   abide by the following restrictions on personal association, residence, or travel:        SONY / edny and THE eastern DISTRICT OF Virginia
                    FOR COURT/ATTORNEY PURPOSES. WITH PRIOR NOTIFICATION TO PRETRIAL SERVICES OR THE COURT.
      ([71) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including:    no contact with victims or witnesses in this investigation, no contact with codefendants or co-conspirators
                    IN THIS investigation.
      ([71) (h) get medical or psychiatric treatment:             mental health evaluation and treatment as directed by pretrial services

       (□) (i) return to custody each                        at             o'clock after being released at                    o'clock for employment, schooling.
                    or the following purposes:

       (□) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary.

       (□) (k) not possess a firearm, destructive device, or other weapon.
       (□) (1) not use alcohol ( □ ) at all ( □ ) excessively.
       (0) (nt) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                    medical practitioner.
       (□) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
               random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
               prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                    of prohibited substance screening or testing.
       (□) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                    supervising officer.
       (□) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                    (□) (i) Curfew. You are restricted to your residence every day ( □ ) from                                   to              , or (□) as
                                 directed by the pretrial services office or supervising officer; or
                    (□) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                             medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                 activities approved in advance by the pretrial services office or supervising officer; or
                    (I I) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                 court appearances or other activities specifically approved by the court; or
                    (□ ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                 you must comply with the location or travel restrictions as imposed by the court.
                                 Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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AO 199B (Rev. 12/20) Additional Conditions of Release                                                                               Page     of ^ Pages

                                                     ADDITIONAL CONDITIONS OF RELEASE

      (□ ) (q) submit to the following location monitoring technology and comply with its requirements as directed;
               (□ ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                   (□ ) (ii) Voice Recognition; or
                   (□ ) (iii) Radio Frequency; or
                   (□)(iv) GPS.
      (□ ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                    officer,
      (□) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                    questioning, or traffic stops.
      ([✓]) (t) NOT TO POSSESS THE PERSONAL INDENTIFCATION INFORMATION OF OTHERS.INCLUDING AT ANY PLACE OF EMPLOYMENT.
         0 (u))NOT TO OPEN ANY NEW LINES OF CREDIT. BANK ACCOUNTS,CRYTOCURRENCY ACCOUNTS AND CREDIT CARDS WITHOUT PRIOR APPROVAL FROM PRETRIAL SERVICES
                    or the Court.

          0 (v) Maintain or actively seek employment and/or enroll in an educational/vocational program, at the
          12        discretion of the probation officer.
               (w) Shall not access the BreachPorum website.
          0
          ^ (x) Shall have no knowing contact with BreachPorum users or co-conspirators unless supervised by counsel,
           gj (y) Defendant is to appear in the Eastern District of Virginia on March 24, 2023 by noon.
               (z) Defendant may not access VPN software from his home or anywhere else.
          0 Additional conditions added on July 13, 2023:

                The defendant shall not access a computer and/or the internet unless a computer monitoring program has been installed by the pretrial
                services office. The defendant shall consent to the installation of computer monitoring software on any computer to which the defendant has
                access. Installation shall be performed by the pretrial services officer. The software may restrict and/or record any and all activity on the
                computer, including the capture of keystrokes, application information, internet use history, email correspondence, and chat conversations.
                The defendant shall not remove, tamper with, reverse engineer, or in any way circumvent the software. The cost of the monitoring will be
                paid by the defendant.

                No contact with minors under the age of 18(with the exception of the defendant's sibling) unless supervised by an adult who is aware of the
                defendant's offense, at the discretion ofthe probation officer.

                The defendant shall not access any websites or accounts focused on breached, leaked or stolen data, computer hackling, security research,
                malware, computer programming, domains, cybercrime, online obfuscation, or computer networking, without prior approval of probation.

                The defendant shall not use any tools for obfuscating his identity, such as virtual private networks(VPNs),the onion router(Tor), or proxies.

                The defendant shall not create, register, or rent any new websites, domains, servers, or computer infrastructure associated with the operation
                of websites.
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 AO 199C (Rev. 09/08) Advice of Penalties                                                                      Page   4       of   ^   Pages
                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive {i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness,victim,or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
      (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
      (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
      (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware ofthe conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                        Defendant's    Signature
                                                                                        nfiffin/innt'c ^itmnlurp




                                                                                            City and Stale



                                                Directions to the United States Marshal

( )The defendant is ORDERED released after processing.
( )The United States marshal is ORDERED to keep the defendant in custody until notified b>ahe clerk or judge that the defendant
   has posted bond and/or complied with all other conditions for release. If still in custody, tjf^^fendant must be produced before
        the appropriate judge at the time and place specified.



                      V /                                            T. S. ElltSrmJudicJat OJifi             ature
                                                                     Umled States Distwc

                                                                                                name and title




                     DISTRIBUTION:      COURT    DEFENDANT       PRETRIAL SERVICE       U.S. ATTORNEY          U.S. MARSHAL
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AO I99C (Rev. 09/08) Advice orPcnalties




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